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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

STATE OF TEXAS,

        Plaintiff,

v.
                                                           No. 5:23-CV-034-H
MERRICK GARLAND, in his official
capacity as Attorney General, et al.,

        Defendants.
                                          ORDER
        Before the Court is the defendants’ Motion to Stay (Dkt. No. 11). In their brief in

support, the defendants ask the Court to stay the case pending resolution of their Motion to

Transfer (Dkt. No. 9). Dkt. No. 12 at 2. The motion is granted in part. The defendants’

deadline to file a responsive pleading to Texas’s Amended Complaint (Dkt. No. 4) is stayed

until further order of the Court. No other deadlines are affected by this order.

        So ordered on March 6, 2023.


                                            _____________________________________
                                            JAMES WESLEY HENDRIX
                                            UNITED STATES DISTRICT JUDGE
